
15 N.Y.2d 726 (1965)
Erich H. Henry, Appellant,
v.
City of New York, Respondent.
Court of Appeals of the State of New York.
Argued January 11, 1965.
Decided January 14, 1965.
Harry H. Lipsig, Murray L. Lewis and Marvin Luboff for appellant.
Leo A. Larkin, Corporation Counsel (Seymour B. Quel of counsel), for respondent.
Concur: Judges DYE, FULD, VAN VOORHIS, BURKE, SCILEPPI and BERGAN. Chief Judge DESMOND dissents and votes to reverse upon his dissenting opinion in Motyka v. City of Amsterdam (15 N Y 2d 134, 140), decided herewith.
Order affirmed, without costs, on the majority opinion in Motyka v. City of Amsterdam (15 N Y 2d 134), decided herewith. No opinion.
